PS8
(Rev. 4.2020)
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                                UNITED STATES DISTRICT COURT
                                                                                                     ncr      ? 2OT
                                                              for

                                                WESTERN DISTRICT OF TEXAS                       WESTERN

U.S.A. vs. Brandie Nicole Salinas                                                        Docket No. 5:.'l-CR3-5-FB

                                    Petition for Action on Conditions of Pretrial Release
          COMES NOW Raul Villa                                             ,   pretrial services/probation officer, presenting an
official report upon the conduct of defendant     Brandie Nicole Salinas
who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge Elizabeth Chestney
sitting in the court at San Antonio, Texas                                on the 21      date of October , 2021
under the following conditions:

See Appearance Bond and Order Setting Conditions of Release dated October 21, 2021:
Pretrial Services alleges the defendant violated the following additional conditions of release:
Condition 7(a): Submit to supervision by and report for supervision to U.S. Pretrial Services as directed.
Condition 7(m): Not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. 802,
unless prescribed by a licensed medical practitioner.
Condition 7(n): Submit to testing for a prohibited substance if required by pretrial services or supervising officer. The
defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance
          or

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
 On Monday, November 22, 2021, the defendant was contacted via phone by U.S. Pretrial Services and reminded of her
obligation to submit a urine analysis (UA) on this day. On November 22, 2021, the defendant reported to Lifetime
Recovery and reported she was feeling Covid- 19 symptoms. Lifetime Recovery advised her to acquire a negative
Covid-19 test prior to submitting a UA. The defendant did not return to provide them with a negative Covid-19 test
and failed to provide a UA for testing on November 22, 2021. The defendant was contacted and asked why she failed to
report for a UA; however, she stated she reported to Lifetime Recovery on November 22, 2021 and provided a UA.
Lifetime Recovery was able to confirm the defendant reported; however, did not submit a UA sample on November 22,
2021.

On November 23, 2021, the defendant was instructed to report to U.S. Pretrial Services at 8 am. She requested and was
granted the opportunity to report at 9am; however, failed to report as directed. The defendant was contacted by phone
at 11am and was instructed to report before 1pm. Lifetime Recovery contacted Officer Villa at 12:30 pm on Tuesday,
November 23, 2021, advising the defendant was present at their facility attempting to submit a UA for testing and
claiming she was present the day prior and had submitted a UA the day prior. Telephone contact was made with her
while she was at the facility and she was directed a second time to report to U.S. Pretrial Services for her office visit
immediately.

On November 23, 2021, the defendant reported to U.S. Pretrial Services at 1:02 pm. She provided a urine sample for
testing at 2:08 pm which yielded a negative result for all substances. On November 23, 2021 at 5:11 pm, the defendant
e-mailed this officer a document from Lifetime Recovery that stated a Urinalysis Test was performed on the defendant
on November 22, 2021, at 4:09 pm. Lifetime Recovery was provided a copy of this document and they were able to
confirm the document was falsified. Lifetime Recovery provided the original document, date January 11, 2021, which
was modified to appear to be a November 22, 2021 document.

On November 30, 2021, the defendant reported to U.S. Pretrial Services at 1:54 pm for an office visit and to provide a
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 urine specimen for illicit substance testing. She was confronted regarding the falsified documents and continued to
 declare she submitted a UA on November 22, 2021, until she was provided with the original documents from Lifetime
 Recovery and after an hour of waiting in the lobby The defendant changed her story and indicated her mother falsified
 the document and convinced her to provide it to U.S. Pretrial Services in order to circumvent incarceration for a
 violation. On November 30, 2021 at 4:30 pm, the defendant provided a UA which yielded a presumptive positive for
 amphetamines. The sample was sent for laboratory confirmation and the results are currently pending.

 U.S. Pretrial Services contacted AUSA William Calve who concurs with the_below-noted_course of action.
PRAYING THAT THE COURT WILL ORDER a warrant be issued and the defendant be brought before the Court to
show just cause as to why the defendant's bond should not be revoked.

                                                            I declare under penalty of perjury that the foregoing is true and
                                                            correct.
                                                            Executed on 12/01/2021
                ORDER OF COURT
Considered and ordered this 2                     day of


                                                                                            (/' (. /
                                                           U.S. Pretrial Services Officer    Phone Number    L+i (210) 244-5433
December             ,   2021       and ordered filed
and made a part of the records in the above case.
                     cs                                    Supervisory
                                                           U.S. Pretrial Services Officer    Phone Number    [   _
                                                                                                                 +1 (210) 244-5450

           U.S. District Judge/Magistrate Judge
                                                           Place
                                                                      U.S. Pretrial Services Office
                                                                      727 E. Cesar Chavez, Blvd., Ste. 636
                                                                      San Antonio, Texas 78206
